Executive Grant of Clemency

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

I HEREBY COMMUTE the total sentence of imprisonment each of the following
named persons is now serving to time served, leaving intact and in effect for each named person
the term of supervised release imposed by the court with all its conditions and all other
components of each respective sentence:

David Barren Reg. No. 09803-068
Kristina Kay Bohnenkamp Reg. No. 11084-029
Jonathan Braun Reg. No. 78229-053
Ann Marie Butler Reg. No. 17210-171
Craig Cesal Reg. No. 52948-019
Corvain T. Cooper Reg. No. 64301-112
April D. Coots Reg. No. 20818-045
Jaime A. Davidson Reg. No. 37593-053
John Estin Davis Reg. No. 25621-075
Anthony DeJohn Reg. No. 10232-052
Kenneth Charles Fragoso Reg. No. 26520-079
Robert Francis Reg. No. 00556-025
Darrell Frazier Reg. No. 11334-074
Luis Gonzalez Reg. No. 04434-078
Michael Harris Reg. No. 90244-012
Raymond Hersman Reg. No. 04139-088
Lou Hobbs Reg. No. 00596-748
Bill K. Kapri Reg. No. 18149-104
Cassandra Anne Kasowski Reg. No. 08857-059
Kyle Kimoto Reg. No. 07791-025
Noah Kleinman Reg. No. 61596-112
John Richard Knock Reg. No. 11150-017
Mary Anne Locke Reg. No. 03831-029
Tena M. Logan Reg. No. 18425-026
Way Quoe Long Reg. No. 00047-111
Chalana C. McFarland Reg. No. 58892-019
Jawad Amir Musa Reg. No. 28075-037
Sydney Melissa Navarro Reg. No. 46030-177
Lerna Lea Paulson Reg. No. 09133-059
Michael Pelletier Reg. No. 11109-036
Tara Michelle Perry Reg. No. 46509-177
Jodi Lynn Richter Reg. No. 15168-041
Lavonne Roach Reg. No. 10431-073
Mary Marcella Roberts Reg. No. 11010-059

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James R. Romans Reg. No. 10195-028

Ferrell Damon Scott Reg. No. 27797-177
Adriana Shayota Reg. No. 50259-298
Brian Wayne Simmons Reg. No. 74241-065
Derrick Bruce Smith Reg. No. 14301-045
Blanca Maribel Virgen Reg. No. 38386-177
Jerry Donnell Walden Reg. No. 43301-054
Eliyahu Weinstein Reg. No. 62465-050
Caroline Yeats Reg. No. 47025-177

I HEREBY DESIGNATE, direct, and empower the Acting Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

I ALSO DIRECT the Bureau of Prisons, upon receipt of this warrant to effect the terms
of release set forth herein with all possible speed.

IN TESTIMONY WHEREOF | have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.

Done at the City of Washington this
Nineteenth day of January in the year of our
Lord Two Thousand ayd Twenty-one and of

   

 

 
 

DONALD J. TRUM
President

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